Case 1:03-md-01570-GBD-SN Document 272-15 Filed 06/30/04 Page 1 of 5




                     Exhibit 12
Online NewsHour: Al Qaeda's 1998 Fatwa                                                            Page 1 of 4
            Case 1:03-md-01570-GBD-SN Document 272-15 Filed 06/30/04 Page 2 of 5




                                                                      AL QAEDA'S FATWA

                                             The following text is the second fatwa originally
                                             published on February 23, 1998, to declare a holy
                                             war, or jihad, against the West and Israel.

                                             It is signed by Osama bin Laden, head of al Qaeda;
                                             Ayman al-Zawahiri, head of Jihad Group in Egypt,
                                             and several other Islamic terrorist groups.



                                  Praise be to God, who revealed the Book, controls
              Online Special      the clouds, defeats factionalism, and says in His
                     Report:      Book: "But when the forbidden months are past,
              Terrorist Attacks   then fight and slay the pagans wherever ye find
                                  them, seize them, beleaguer them, and lie in wait
                  International   for them in every stratagem (of war)"; and peace
                      Reaction    be upon our Prophet, Muhammad Bin-'Abdallah,
                                  who said: I have been sent with the sword
                     Al Qaeda
                                  between my hands to ensure that no one but God
                                  is worshipped, God who put my livelihood under
                  Afghanistan
                                  the shadow of my spear and who inflicts
             African Embassy      humiliation and scorn on those who disobey my
                    Bombings      orders.

               Who is Osama       The Arabian Peninsula has never -- since God
                 bin Laden?       made it flat, created its desert, and encircled it
                                  with seas -- been stormed by any forces like the
                                  crusader armies spreading in it like locusts, eating
                                  its riches and wiping out its plantations. All this is
                                  happening at a time in which nations are attacking
                                  Muslims like people fighting over a plate of food.
                                  In the light of the grave situation and the lack of
                                  support, we and you are obliged to discuss current
                                  events, and we should all agree on how to settle
                                  the matter.

                                  No one argues today about three facts that are
                                  known to everyone; we will list them, in order to
                                  remind everyone:

                               First, for over seven years the United States has
                               been occupying the lands of Islam in the holiest of
                               places, the Arabian Peninsula, plundering its
                    U.S. State
             Department Office riches, dictating to its rulers, humiliating its people,



http://www.pbs.org/newshour/terrorism/international/fatwa_1998.html                                6/30/2004
Online NewsHour: Al Qaeda's 1998 Fatwa                                                       Page 2 of 4
            Case 1:03-md-01570-GBD-SN Document 272-15 Filed 06/30/04 Page 3 of 5

                             of   terrorizing its neighbors, and turning its bases in
              Counterterrorism    the Peninsula into a spearhead through which to
                                  fight the neighboring Muslim peoples.
                     Terrorism
               Research Center
                                  If some people have in the past argued about the
                 International    fact of the occupation, all the people of the
               Policy Institute   Peninsula have now acknowledged it. The best
                  for Counter-    proof of this is the Americans' continuing
                     Terrorism    aggression against the Iraqi people using the
                                  Peninsula as a staging post, even though all its
                                  rulers are against their territories being used to
                                  that end, but they are helpless.

                                  Second, despite the great devastation inflicted on
                                  the Iraqi people by the crusader-Zionist alliance,
                                  and despite the huge number of those killed,
                                  which has exceeded 1 million... despite all this, the
                                  Americans are once against trying to repeat the
                                  horrific massacres, as though they are not content
                                  with the protracted blockade imposed after the
                                  ferocious war or the fragmentation and
                                  devastation.

                                  So here they come to annihilate what is left of this
                                  people and to humiliate their Muslim neighbors.
                                  Third, if the Americans' aims behind these wars
                                  are religious and economic, the aim is also to
                                  serve the Jews' petty state and divert attention
                                  from its occupation of Jerusalem and murder of
                                  Muslims there. The best proof of this is their
                                  eagerness to destroy Iraq, the strongest
                                  neighboring Arab state, and their endeavor to
                                  fragment all the states of the region such as Iraq,
                                  Saudi Arabia, Egypt, and Sudan into paper
                                  statelets and through their disunion and weakness
                                  to guarantee Israel's survival and the continuation
                                  of the brutal crusade occupation of the Peninsula.

                                  All these crimes and sins committed by the
                                  Americans are a clear declaration of war on God,
                                  his messenger, and Muslims. And ulema have
                                  throughout Islamic history unanimously agreed
                                  that the jihad is an individual duty if the enemy
                                  destroys the Muslim countries. This was revealed
                                  by Imam Bin-Qadamah in "Al- Mughni," Imam al-
                                  Kisa'i in "Al-Bada'i," al-Qurtubi in his interpretation,
                                  and the shaykh of al-Islam in his books, where he
                                  said: "As for the fighting to repulse [an enemy], it
                                  is aimed at defending sanctity and religion, and it
                                  is a duty as agreed [by the ulema]. Nothing is
                                  more sacred than belief except repulsing an
                                  enemy who is attacking religion and life." On that
                                  basis, and in compliance with God's order, we


http://www.pbs.org/newshour/terrorism/international/fatwa_1998.html                           6/30/2004
Online NewsHour: Al Qaeda's 1998 Fatwa                                                 Page 3 of 4
            Case 1:03-md-01570-GBD-SN Document 272-15 Filed 06/30/04 Page 4 of 5

                             issue the following fatwa to all Muslims:

                             The ruling to kill the Americans and their allies --
                             civilians and military -- is an individual duty for
                             every Muslim who can do it in any country in
                             which it is possible to do it, in order to liberate the
                             al-Aqsa Mosque and the holy mosque [Mecca]
                             from their grip, and in order for their armies to
                             move out of all the lands of Islam, defeated and
                             unable to threaten any Muslim. This is in
                             accordance with the words of Almighty God, "and
                             fight the pagans all together as they fight you all
                             together," and "fight them until there is no more
                             tumult or oppression, and there prevail justice and
                             faith in God."

                             This is in addition to the words of Almighty God:
                             "And why should ye not fight in the cause of God
                             and of those who, being weak, are ill-treated (and
                             oppressed)? -- women and children, whose cry is:
                             'Our Lord, rescue us from this town, whose people
                             are oppressors; and raise for us from thee one
                             who will help!'"

                             We -- with God's help -- call on every Muslim who
                             believes in God and wishes to be rewarded to
                             comply with God's order to kill the Americans and
                             plunder their money wherever and whenever they
                             find it. We also call on Muslim ulema, leaders,
                             youths, and soldiers to launch the raid on Satan's
                             U.S. troops and the devil's supporters allying with
                             them, and to displace those who are behind them
                             so that they may learn a lesson.

                             Almighty God said: "O ye who believe, give your
                             response to God and His Apostle, when He calleth
                             you to that which will give you life. And know that
                             God cometh between a man and his heart, and
                             that it is He to whom ye shall all be gathered."

                             Almighty God also says: "O ye who believe, what
                             is the matter with you, that when ye are asked to
                             go forth in the cause of God, ye cling so heavily to
                             the earth! Do ye prefer the life of this world to the
                             hereafter? But little is the comfort of this life, as
                             compared with the hereafter. Unless ye go forth,
                             He will punish you with a grievous penalty, and put
                             others in your place; but Him ye would not harm in
                             the least. For God hath power over all things."

                             Almighty God also says: "So lose no heart, nor fall
                             into despair. For ye must gain mastery if ye are



http://www.pbs.org/newshour/terrorism/international/fatwa_1998.html                     6/30/2004
Online NewsHour: Al Qaeda's 1998 Fatwa                                                                             Page 4 of 4
            Case 1:03-md-01570-GBD-SN Document 272-15 Filed 06/30/04 Page 5 of 5

                                true in faith."




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